    Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 1 of 52 PageID: 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

                                                       )
     JOHN DOE,                                         )
                                                       )        Case No.
                      Plaintiff,                       )
                                                       )
             -against-                                 )
                                                       )
         BAILA SEBROW,                                 )    COMPLAINT
                                                       )    AND DEMAND
                                                       )    FOR JURY DUTY
                      Defendants.                      )
                                                        )

             Plaintiff JOHN DOE 1 (hereinafter “Plaintiff” or “JOHN

     DOE”), by his attorneys Borenstein, McConnell & Calpin, P.C., as

     and for his complaint against Defendant Betty Sebrow, aka Baila

     Sebrow (hereinafter “Defendant” or “Ms. Sebrow”), alleges as

     follows:

                                FIRST CAUSE OF ACTION
             1. Since in or about October 2019, Ms. Sebrow has

     maliciously damaged JOHN DOE by causing to be posted on

     various major media outlets the allegation that Mr. is a “date

     rapist,” has date raped 100 women, has violated his own daughter,

     and in general is a very bad and evil man.

1
 Plaintiff is designated as “JOHN DOE” to avoid publicity and embarrassment as will be evident from the
contents of this Complaint.
                                                     -1-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 2 of 52 PageID: 2




       2. Ms. Sebrow has accomplished this by causing postings to

 the effect described in Paragraph 1 to be displayed prominently on

 Google.


      3.   Ms. Sebrow’s scheme and plan to utilize the

 internet to damage JOHN DOE is called in this Complaint the

 “Sebrow Internet Plan.”

       4. Ms. Sebrow’s malicious actions arise out of a former

 social relationship between JOHN DOE and Ms. Sebrow, which,

 after an attempt by JOHN DOE to break off the relationship, Ms.

 Sebrow converted into a threatening, abusive, and legally and

 emotionally damaging crusade of torment and intimidation of

 JOHN DOE culminating in the Google Postings described above.

       5. JOHN DOE discovered the Google Postings made under

 the Sebrow Internet Plan in July 2021, by simply “googling” his

 own name and seeing them there.

       6. In a domestic violence case in New Jersey now pending

 in the New Jersey Superior Court, Chancery Division, Family Part,

 Essex County, Docket # FV-07-xxx-22, Ms. Sebrow lied to the

 Superior Court of New Jersey in a Certification she signed under

 penalty of perjury, stating that, she did not know of the Google


                                    -2-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 3 of 52 PageID: 3




 Postings nor who created them.

       7. These claims under penalty of perjury are false, because

 Ms. Sebrow, with knowledge and intent, is responsible for the

 Sebrow Internet Plan, whereby she induced and encouraged two

 individuals who are called in the Complaint “NK” and “MK” to

 post grossly disparaging media postings or cause them to be posted

 via various media so as to appear on Google, all in furtherance of

 Sebrow’s Internet Plan.

       8. Ms. Sebrow has damaged and hurt JOHN DOE by the

 matters alleged herein, including, but not limited to the Sebrow

 Internet Plan, and is an ongoing menace to his well-being, and

 must be stopped, and must compensate him.

       9. Plaintiff brings this action to stop Ms. Sebrow from her

 abusive actions and to recover the losses suffered by JOHN DOE

 at the hands of defendant Ms. Sebrow, for harassment, defamation,

 extortion, and mental and emotional distress.

       10.      JOHN DOE by this lawsuit seeks compensatory

 damages, punitive damages, injunctive relief, and declaratory

 judgment.

       11.      Upon information and belief, defendant Baila

 Sebrow is a citizen and resident of Lawrence, Nassau County, New
                                    -3-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 4 of 52 PageID: 4




 York.

         12.      Plaintiff JOHN DOE is a citizen and resident of

 New Jersey.

         13. This Court has diversity jurisdiction and venue is

 proper in this District.

         14. Upon information and belief, Ms. Sebrow is a well-

 known media personality in Jewish media, and is a professional

 matchmaker, with her emphasis in Orthodox Jewish dating and

 relationships.

         15. Ms. Sebrow purports to be a Jewish Orthodox woman.


         16. JOHN DOE is a parent of four (4) children, and of

 grandchildren, having been divorced for over ten (10) years.


         17. JOHN DOE practices Orthodox Judaism and is

 involved in various activities in that social and religious

 environment.


         18.      In or about October of 2017, JOHN DOE and Ms.

 Sebrow began a social relationship with each other.


         19. The social relationship was active for approximately

 four months.


                                    -4-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 5 of 52 PageID: 5




       20. In or about January 2018, JOHN DOE attempted to

 terminate the relationship.


       21. The extent of their relationship included “dating” and

 being intimately involved with each other on several occasions,

 including New Year's Eve, 2017 into 2018.


       22. JOHN DOE opened the relationship with Ms. Sebrow

 with an open mind, to see where things would go with Ms.

 Sebrow.


       23. JOHN DOE and Ms. Sebrow never became engaged to

 be married, nor were they even married, civilly, or by a Jewish

 Marriage.


       24. At some point in 2018, JOHN DOE decided and

 notified Ms. Sebrow that he did not see a long-term future in his

 relationship with Ms. Sebrow, and he therefore decided that the

 dating relationship should not continue.


       25. JOHN DOE explained to Ms. Sebrow that he intended

 to remain civil with her, but that he could no longer date her in an

 intimate manner.


       26. This rejection of Ms. Sebrow by JOHN DOE apparently
                                     -5-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 6 of 52 PageID: 6




 has triggered her actions described in the Complaint.


       27. Since receiving that information from JOHN DOE, over

 approximately a period of about eight months in 2018, and

 culminating in the Google Postings referred to above, Ms. Sebrow

 has been engaging in a campaign of abuse and threats against

 JOHN DOE via emails, text messages, phone calls, and

 communications with JOHN DOE’s employer, and the Google

 Postings.


       28. The verbal abuse, threats and intimidation has become

 so severe, that JOHN DOE now asserts civil claims on his behalf

 have arisen for harassment, defamation, and tortious interference

 with business relationships.


       29. JOHN DOE now seeks the intervention of this court to

 prevent any further verbal abuse, threats and intimidation, and for

 monetary damages relating to the verbal abuse, threats and

 intimidation that has taken place.


       30. The following are several, among a multitude of

 emails and text messages containing outrageous, malicious,

 false and defamatory materials and accusations, sent by Ms.

                                      -6-
 Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 7 of 52 PageID: 7




  Sebrow to JOHN DOE, after their breakup, designed to annoy,

  harm and/or injure JOHN DOE.


         31. These emails and text messages are but a portion of

  the total number of emails and text messages sent by Ms.

  Sebrow.


32.   Upon information and belief, the following are various

  electronic text messages which were sent to JOHN DOE, by

  Ms. Sebrow:


            (a)   “I keep telling you that I don’t want to fight with
                  you. You suggested we be friends. And I’m fine
                  with that. But you can’t talk about me to others.
                  Can we have that deal.”
            (b)   JOHN DOE responded, saying, “I do NOT talk
                  about you. Stop texting me. I am going to block
                  you on my cell. I’ll leave what’s app open. I
                  need my cell open for work.”
            (c)   “To you its fine. You can go banging any tramp.
                  I’m a religious woman and yes, a leader and
                  respected person. I have to go by the book. I
                  apologize for what I said about your picture. It’s
                  not true. I said that because I was upset. You
                  look very handsome there. I now have cause to
                  sue. You made a big mistake talking about me to
                  people in Israel.”
            (d)   On or about September 23, “Are you ignoring my
                  calls”
            (e)   On or about September 26, 2018, “Your friends
                  on Facebook with every woman you banged.
                  Including those who disparage you! In fact, you
                                         -7-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 8 of 52 PageID: 8




                go back to banging them after you dump them.
                They’re desperate enough to spread for you. I’m
                sure xxx [another woman named and redacted]
                will spread her overused rejected puss for you in
                exchange for dinner. You got yourself back on
                Facebook to arrange meeting up in Israel with
                puss! Just Know: When you stand before the
                Kotel – the holiest place, known as the Wailing
                Wall, know that the wall is “wailing” in defense
                of a widow you used like you used everyone
                else.”
          (f)   On or about October 4, 2018, “Your lips look dry.
                Must be from overuse on…..but you still look
                handsome to me! Tell her I say Hi”
          (g)   On or about October 4, 2018, JOHN DOE
                responded saying, “Please stop. It’s too much.
                You have hounded me the whole trip with my
                son. I’m not doing this anymore. Stop stalking
                me. The picture was to get you to stop. I’m
                done.”
          (h)   On or about October 26, 2018, at 3:36pm,
                “You’re going back to the whore you made fun
                of. Now she’s a fat pig. You’re getting what you
                deserve.”
          (i)   On or about October 26, 2018, at 3:37pm, “JOHN
                DOE is a rapist!”
          (j)   On or about October 26, 2018, at 3:38pm, “I
                received a message from you that I should call
                you on your work number. So, I left you a
                message there.”
          (k)   On or about October 26, 2018, at 3:39pm, “I’ll
                communicated as much as I want. And if you
                push me I will publish all emails about you. It’s
                legal for me to release personal emails. Ask Mr.
                xxx [redacted]. Just so you know, I’m friends
                with his niece xxx [redacted].”
          (l)   On or about October 26, 2018, at 3:39pm, “I have
                                      -8-
 Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 9 of 52 PageID: 9




                 texts from your ex-wife about you. That should
                 make your company happy. I have emails about
                 your drugging women.”
           (m) “I  have bad stuff about you. You can’t ever find a
                 bad thing about me! I’ve been a model citizen my
                 whole life. Not you. You’re as dirty as they
                 come.”
           (n)   “I’m very sorry that I said you raped me. I was
                 upset, and not thinking clearly. It’s not true. I
                 apologize for the grief it caused you.”
           (o)   “If you want to settle this, then as I suggested
                 months ago, we can meet with a neutral third
                 party. I’m about to light candles. I’m very sorry
                 for what I said. Maybe its not an excuse, but you
                 have given me so much pain. And I’m having a
                 very difficult time with that.”
           (p)   “I don’t doubt you’re with your son. But, you’re
                 not staying on in Israel so long for him. You’re
                 being very secretive and that means a female.
                 Especially cause you keep telling me its none of
                 my business. Actually, the best thing would be
                 for you to stay in Israel and marry some fish
                 smelly bushy woman and remain there. At least
                 the American women will be safe from your dick.
                 Lol.”
           (q)   “I love this picture. Gonna frame it for my
                 toilet!.....As I said, a perfect picture for my toilet.
                 Something to look at while I defecate.”
           (r)   “I often publish real life stories how those who
                 dump, beautiful, prominent, accomplished people
                 end up with the undesirables. I typically entitle
                 those articles “Karma”. So, just although we are
                 just friends, I am following your love life for
                 journalistic purposes.”


33.   On November 3, 2018, JOHN DOE received the following
                                          -9-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 10 of 52 PageID: 10




  text message from the phone number (305) 396-8338:

  “RAPIST[.]”      Later, the same phone number texted him

  another message: “GET GET GET[.]”


34.   On November 5, 2018, JOHN DOE received the following

  text message from the phone number (646) 343-9602: “GIVE

  THE GETT[.]” Later, the same phone number texted him

  another message: “ANEMAL[.]”


35.   On October 3, 2019 at 5:41 pm, JOHN DOE received a text

  message from an unknown number stating: “chaim zelig a

  halachic annulment is being arranged by bais din you raped

  her but you won’t keep her chained[.]”


36.   On December 18, 2019 at 11:23 pm, JOHN DOE received a

  text   message    from   an    unknown    number:   “GETT

  REFUSER[.]” On January 27, 2020, the same number texted

  him stating: “RAPIST MOLESTER SODOMIZER[.]”


37.   On January 24, 2020 at 4:26 pm, JOHN DOE received a

  text message from an unknown number stating: “RAPIST[.]”


38.   On January 29, 2020 at 7:44 am, JOHN DOE received a

  text message from an unknown number stating “The Rape,

                                     -10-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 11 of 52 PageID: 11




  Abuse & Incest National Network is an American nonprofit

  anti-sexual assault organization, the largest in the United

  States[.]”


39.   On February 19, 2020 at 5:18 pm, JOHN DOE received a

  text message from an unknown number stating “JOHN DOE

  IS A RAPIST[.]”


40.   On March 6, 2020 at 4:45 am, JOHN DOE received a text

  message from an unknown number stating “BUMBLE

  HELPING YOU FIND MORE RAPE VICTIMS?”


41.   On April 13, 2020 at 7:04 pm, JOHN DOE received a text

  message from an unknown number stating “EVIL RAPIST[.]”


42.   On April 30, 2020 at 12:50 pm, JOHN DOE received a text

  message from an unknown number stating “Still within statute

  of limitation for Rape Your atrocities will be brought to

  justice[.]”


43.   On December 23, 2020, at 12:21 am, JOHN DOE received

  a text message from an unknown number stating “Victims

  never forget the date of their rape[.]” Notably, and mentioned

  for the sole purpose of tying Ms. Sebrow to the anonymous

                                     -11-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 12 of 52 PageID: 12




  text messages, an earlier e-mail from Ms. Sebrow had also

  referenced a date in December as the alleged date of her

  alleged rape.


        44. On February 19, 2018, Ms. Sebrow sent the

  following email to JOHN DOE:

        “Did you block my calls? Because if you did, I’m going
        public with everything you did to me, and the truth
        about what happened in the past. One of the rabbis in
        my community did a major search on you. And it seems
        that xxx [another woman named and redacted] was
        quite abused by you. Not only that, but it seems that
        your daughter xxx [name redacted] frequently slept in
        your bed while she was a teenager. There are plenty of
        other stories. I was warned to stay away from you. But,
        I still insisted on dating you, claiming that they are all
        lies.
        Now, I wonder!”


        45. On or about May 17, 2018, Ms. Sebrow sent an

  email to JOHN DOE, stating as follows:

        “Nope. You tend to bring up xxx [another woman
        named and redacted] (donkey face) [another woman]
        quite a bit in a positive way. Whether on a date or in
        bed. She's in your blood. But, you know that if you
        present her as wife #4 - you will be the laughing stock!
        She actually makes xxx [another woman named and
        redacted] look good. They're both trash. But, at least
        xxx [another woman named and redacted] comes from
        a good family. Xxx [another woman named and
        redacted] has faggots and goyim. What a beautiful
        example for your grandkids, that would be. Lol.”

        So, instead you go after a woman who will make you
                                      -12-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 13 of 52 PageID: 13




         look good.

         Remember this story?
         Prince Charles was in love with Camilla, yet married
         Diana, because she was pure and good. And Camilla
         was trash. But, Camilla was in his blood, and as result
         could not make a happy home with Diane.
         Eventually, they got divorced. Diane died. Charles
         married Camilla, who ended up embarrassing him with
         her drunken stupors.
         Bottom line is you need to decide what you truly want,
         and make peace with it.


46.   On or about July 24, 2018, Ms. Sebrow sent the following

  email to JOHN DOE:

         “As a relationship expert I totally understand what's
  going on. You felt compelled to break up with me for
  whatever reason. And you're scared to run into me (no pun
  intended) or communicate with me because you still have a
  thing for me! And when we communicate, it slows down your
  healing process. Otherwise, I would be like any other person
  to you.
        Even if date or sleep with other women, you will always
  think about me. Gold always shines through!
  Deny it all you like, JOHN DOE, baby. I'm in your blood!”


47. On or about July 24, 2018, JOHN DOE sent the following

  response to Ms. Sebrow:

  “Baila.

  I really need to be clear. With the greatest of respect you are
  way off base. I’m sorry you feel this way as I probably could
  have done a better job being clearer.
        This is not true. I wish you well and you are an amazing
                                     -13-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 14 of 52 PageID: 14




      person. I’m sure the right person will be coming along.
      Wishing you the Best”


48.     On or about July 24, 2018, Ms. Sebrow sent the following

   response to JOHN DOE:

   “I know that I'm an amazing person. At least we finally
   agree on something!
   And that's why I would be amused to see who will be the
next woman after me. Will be funnier than laughing-gas.”


49.     On July 25, 2018, Ms. Sebrow threatened to send the

      following email to JOHN DOE at his Work work email

      address:

        “I’m thinking of settling this situation in a Bais Din [Jewish
        Ritual Court].

        Scenario:
        Defendant: A 3 times divorced wealthy man who has a
        reputation for wining and dining women telling them he
        loves them, sleeps with them and dumps them.

        Plaintiff: Newly widowed woman who was in a healthy
        marriage for 28 years, and a known devoted wife. She is an
        upstanding citizen known for her endless chesed. She is a
        respected leader in the Jewish community and admired by
        rabbis.
        She was seeked out by defendant immediately following
        her husband’s death by means of an esteemed rabbi and an
        organization. Defendant donated money on behalf of her
        husband’s memory to an organization, and also to her
        personal charity for singles. Defendant persuaded plaintiff
        to date him. In her fragile vulnerable state, he sends her
        expensive gifts, wines and dines her, tells her he loves her
                                          -14-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 15 of 52 PageID: 15




        and wants to marry her. Brings her to a bar. She drinks. He
        convinces her to sleep with him all the while talking about
        marrying her and where they will live together. He
        introduces her to his friends and she believes everything
        while continuing as a serious couple including intimacy.
        One day, out of the blue, he breaks up with her telling her
        things that make no sense. Finally, he admits to never
        loving her, and that in essence she was nothing but a sex
        toy for him.

        Witnesses to the character and behavior of defendant will
        be in attendance.

        Plaintiff seeks compensation for emotional damage, and
        knowledge made public about the defendant’s predatory
        actions.

        What do you think?”


50.     On August 29, 2018, Ms. Sebrow did send an email to

  JOHN DOE at his Work account:

      “Maybe it’s time for Work to know that you’re a sociopath.
      Maybe it’s time that your predatory activities become public.
      Maybe it’s time that the hundreds of your female victims
      come forward with their stories of sexual abuse.
      As a journalist, I will be happy to publish all firsthand account
      tales.
      In fact, why don’t we publish how when you don’t rape
      women, or stalk them - you abuse trust in emotionally
      vulnerable women in order to have sex with them?
      What did you do to your own daughter, JOHN DOE?
      Shouldn’t be too difficult to find a large number of many
      victims. Isn’t that correct, JOHN DOE?”

51.     On or about August 29, 2018, Ms. Sebrow sent another

  email to JOHN DOE at his Work account, this time seemingly

  conciliatory:
                                          -15-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 16 of 52 PageID: 16




  “I’m willing to straighten this out”


52.     On or about August 29, 2018, Ms. Sebrow sent another

  email to JOHN DOE at his Work account, this time in the

  form of an apology:

  “JOHN DOE, I am sorry about both emails on August 29.
  None of it was true. I was upset. I will not send again. I
  am sorry.
  Baila Sebrow”

53.     JOHN DOE alleges that the apology and attempt at

  conciliation, were not sincere.

54.     On August 31, 2018, Ms. Sebrow sent the following

  email to JOHN DOE:

      “Not sending by text, in case you’re worried about your
      company seeing it.

      When you unfriended me from Facebook, it was a tremendous
      public attack. I did nothing to you on Tuesday to deserve that.
      And you know it.

      People check to see whose friends with whom, and who’s
      unfriended. You publicly attacked me. And then I reacted.
      Plus, it was on a day that was traumatic to me, and I didn’t
      feel well.

      Why did you do that to me?

      Do you know how embarrassing it is to me that you
      unfriended me?

      That’s a huge attack, and I can’t deal with that.”


                                          -16-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 17 of 52 PageID: 17




55.     On or about September 7, 2018, Ms. Sebrow sent the

  following email to JOHN DOE:

  “This is not an "impulse control" email, nor do I have that
  Issue. You're just projecting.
            However, crap I take from no one!
           All that happened this morning is that at 7:49, I texted
      you "Good luck with your Dr. appt."
            Instead of just saying thank you, you sent me a long
      email that you cannot communicate with me.
            Would you have responded that way to any of your
      fuckaroos? No.
            So, if you act insane towards me, then I respond in the
      language you understand.
             I'm sorry about your ex-father in law, and the troubles
      that are coming along with it.
             Regardless of everything, I was worried about your
      health and your return visit to the doctor today. And that's why
      I texted you. But, you can't help yourself turning everything
      into crazy drama.


      Shabbat Shalom”


56. On or about September 7, 2018, JOHN DOE sent the
   following response to Ms. Sebrow:
  “Baila.
      I need to deal with a lot. I with u a very happy healthy new
      year.”


57.     On or about September 7, 2018, Ms. Sebrow sent the
                                          -17-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 18 of 52 PageID: 18




  following response to JOHN DOE:


         “Thank you. Same to you.
        And if you have sex with anyone else, may you contract
  a highly contagious incurable lifelong STD!
  Amen Amen V'Amen Love and kisses!”


58.   On or about September 26, 2018, Ms. Sebrow sent the

  following email to JOHN DOE:


  “My reason for wanting to remain friends is so that I don’t
  feel compelled to take legal and halachic action against you.
  You might think that you can get away with saying that we
  had a relationship that didn’t work out.
  But, everyone knows that it’s not true. What you did to to me,
  you have done to many others in the last 15 years you decided
  to join the Frum world. And only G-d knows what kind of
  havoc you created in the secular world that will one day hit
  the media.

  What you did to me (and others) is called sexual coercion.
  That is a form of rape. I’m not sure if NY would try you
  criminally for what you did. But, a class action civil suit
  against you will definitely hold up.

  I don’t want to do that to you. My professional standing and
  reputation in coming forward with such charges will only
  ignite others to come forward. And the damage it will do to
  your entire life and all that you worked for will blow up.

  I’m a victim. No different than a survivor of any other devious
  and sinister attack.

  But, I have a soft spot for you. Maybe it’s because I’m still a
  good person. Or maybe I am suffering from the Stockholm
  Syndrome. Not uncommon in such cases.

                                       -18-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 19 of 52 PageID: 19




  The bottom line is that I defended you in public. I didn’t need
  to do that. I could’ve just kept quiet. And I shared with you
  what I did in your defense.

  Then I opened Facebook, and saw that your account is very
  much active, with me still unfriended, while those who talk
  about you as a dirty joke are still your friends. And that was
  quite hurtful.

  JOHN DOE, you have not turned over a new leaf just because
  Yom Kippur ended. As long as people still have a heavy heart
  against you, G-d has not forgiven you. That’s a Torah fact.

  I have not forgiven you. Nor will I ever. You used sexual
  coercion, and then, as your reputation precedes you - you
  threw me away.

  Just so you know, I cry every day, and at every prayer I insert
  your name for the pain you caused me.

  Again. I don’t want to go public and cause you irreparable
  grief and embarrassment.”


59.   On or about October 2, 2018, JOHN DOE sent the

  following email to Ms. Sebrow:


  “I've had enough. Do not email me anymore nor contact me.”


60.   On or about October 3, 2018, at 3:05am, Ms. Sebrow sent

  the following email to JOHN DOE:


         “Hey JOHN DOE,
         How could you have not known this?

                                       -19-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 20 of 52 PageID: 20




       You wrote several times by text and email that you want
  to marry me. That's a halachic contract by intent. You then
  consummated the union with intercourse.
         That's Kiddushin!!! [marriage].
       According to Torah law, there are three ways to betroth
  a woman:
         1.   A money transaction. The man gives to the woman
              money or any object of value.
         2.   A document. The man gives the woman a
              document which states his intention to marry her.
         3.   Sexual Intercourse
         I'm going to keep quiet about this for now. But, if you
  ever get involved with another woman - you have my promise
  that I will take you to Bais Din.
         Baila”


61.   On or about October 3, 2018, at 3:16am, Ms. Sebrow sent

  the following email to JOHN DOE:


         “It's not fair that you ruined my life. I didn't ask to date
  you. I was trying to gain some emotional footing after
  tragically enduring my husband's long illness and death.
        You forcefully pushed your way into my life using
  money, charm, and false promises. You took my heart and
  dignity. Then you dumped me.
        Do you think I'm going to sit on my tuches [derrelerre]
  and suffer silently while you're off finding new pussy to bang?
  You are halachically [Jewish law] bound to answer for your
  actions!”



                                        -20-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 21 of 52 PageID: 21




62.    On or about October 5, 2018, Ms. Sebrow sent an email to

  JOHN DOE containing the following:


          “Dear JOHN DOE,
          You have no clue what our relationship did to me.
                                   ***
         The brutality of the way you dealt with me... This time,
  I didn't survive.
        Emotionally, I am finished. The tremendous pain of
  what happened even caused me to say things to you that I
  otherwise never would. I'm sorry.
         Now, I understand how divorces can turn messy and
  ugly, even with nice people. You were not fair with me.
        I trusted you when everyone begged me to stay away. I
  never told you this. But, at the FD weekend where it was clear
  we were together, several people warned me that you would
  hurt me. I shut them up. That's how secure I was about you.
          At the end, all those who warned me, were accurate.
         I don't want to be enemies with you. I want to be in your
  life, even as friends. Not sure why, but I still care about you.
  To me, love is eternal. Perhaps, that Is the strongest difference
  between us.
      Love,
  Baila


63.    On or about October 7, 2018, Ms. Sebrow sent the

  following email to JOHN DOE:


        “You can ignore me all you like. This is a very serious
  matter. I won't let you ruin my life. You got me into bed many
                                       -21-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 22 of 52 PageID: 22




  times pledging marriage throughout. You backed out, not
  caring that you left me defiled.
        As it Is you've caused damage in that area, because I
  could never marry a kohen [priest].
       We can solve this quietly. No one has to know our last
  names. A rabbi writes up a Get [divorce], and it's done.
        You don't want this dragged into the streets, because it's
  going to become a muddy mess for you. You've worked hard
  to keep your nose clean from your past.
         Unfortunately, you couldn't do that in your dating life.
  But, this will dredge up old stories.
         My life has been clean until I allowed you into my life.
  The worst thing you will find about me is that I called the
  police on a Muslim cab driver who threatened me and where
  there is footage of him driving like a maniac to scare me. You
  already made a fool of yourself when you stated that I bullied
  him!
  You've hurt me enough. I trust that you will do the right
  thing.”


64.   On or about October 10, 2018, at 7:45am, Ms. Sebrow sent

  the following email to JOHN DOE:


  “Coming soon to a newsstand near you!
  "63 Year Old 4 times Divorced Bipolar Sex Addict...Meet
  JOHN DOE."
  Read a woman's personal account about her nightmarish
  abusive relationship with this high-powered philanthropic man
  in finance and politics.
  West Orange will finally be placed on the map when this story
  makes the headlines!”

                                      -22-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 23 of 52 PageID: 23




65.   On or about October 10, 2018, at 4:06pm, Ms. Sebrow sent

  the following email to JOHN DOE:


  “You can block me. But, I will play back xxx [another woman
  redacted] voice on your work phone.”


66.   JOHN DOE responded to that email on or about at 5:16pm,

  stating:


  “I will advise them at work that you mentioned this.”


67.   Ms. Sebrow responded to JOHN DOE’s email on or about

  at 5:22pm, stating:


  “You really don't want that played back. And I don't want
  to hurt or embarrass you. I never have.”


68.   On or about October 10, 2018, at 6:42pm, Ms. Sebrow

  emailed JOHN DOE again, stating:


  “Proof that Hashem [God] protects widows is why I
  found out what you told that ugly jealous fat woman.”


69.   On or about October 10, 2018, at 7:30pm, Ms. Sebrow sent

  an email to JOHN DOE containing the following:


  May Hashem render your tongue and speech useless. Amen
  Amen V'amen
                                     -23-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 24 of 52 PageID: 24




     Just remember "People in glass houses should not throw
stones."
   I have a very damaging recording about you that could destroy
   your family. I would hate to put it on social media.”


70.    On or about October 10, 2018, at 8:16pm, Ms. Sebrow sent

   the following email to JOHN DOE:


   “You will be begging me to forgive you. I will now visit my
   husband's kever [grave] every day and cry about what you did
   to me. The earth will absorb my tears, as I will beg Hashem to
   punish you.
      I'm not the first widow to cry about what you did to her.
   This time Hashem [God] will stop you. All evil men have
   fallen. And so will you.”


71.    On or about October 10, 2018, at 11:17pm, Ms. Sebrow

   sent the following email to JOHN DOE:


   “NORPAC will be hosting a pro-Israel fundraiser for Senator
   Robert Menendez (D-NJ) in Teaneck! October 21st at 12:30
   PM.


   I have family in Teaneck, and they know what you did to me
   and other women in NJ. Senator Menendez will be informed
   about your sick ways. I might forward xxx [another woman
   redacted] recording about what she witnessed while married to
   you, along with the testimony of other people.”


72.     On or about October 11, 2018, at 4:54am, Ms. Sebrow sent

                                         -24-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 25 of 52 PageID: 25




  the following email to JOHN DOE:


  “Your new fat friend whom you spoke to about me will find
  out the truth about who you really are, and what you have
  done to women.
  I'm not obsessed with you, as you want to believe. I'm just not
  letting you get away with what you did to me and others.
  Finally, someone is standing up to you!”


73.   On or about October 11, 2018, Ms. Sebrow sent the

  following email to JOHN DOE at his Work email address:


        “JOHN DOE:
         You have threatened me, sent me expensive gifts, and
  now the truth about how you tortured me has gone public. I
  was previously nice when you coached me to apologize to you
  at your work email to save you at your job. As your concern is
  that everyone is "dispensable."
        You are also very clever calling me from various
  numbers and threatening me - leaving me no choice but to call
  you back as many times for a taste of your own medicine.
         You want to give the impression that I am obsessed
  with you, or stalking you. But, you know it's not true. I'm just
  not taking crap from you anymore like everyone else.
         Your sexual abuse of women is public knowledge, as
  well as the allegations about drugging and raping them. And
  that includes the allegations made by your ex- wives regarding
  your daughter in bed with you when she was 15.
         I also have emails from the early days (when you tried
  to impress me) how you spoke about Work and your
  intentions, as you said ''to screw them" and take your clients
  along in your own company when you make Aliya. Your
  dream, as you said was to move to Israel and start your own
                                      -25-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 26 of 52 PageID: 26




  company with the clients you-u acquired from Work and
  whom you brought along from Merrill Lynch.
        Not only that, but you were dumb enough to boast how
  you go to events where the ''rich Jewish people are" and
  convince them to invest with you. You named various
  investors and how much they invested with you. I was quite
  uncomfortable with that information, as I know many of them.
        Furthermore, you spoke with incessant anger about your
  son-in-law, xxx [redacted] whom you always bitterly
  complained about having to support and give him a $100,000
  a year job with Work while his family does nothing.
  Additionally, you raised concern about his anger management
  issues where he beat up guys.
        Oddly, you too, have anger management issues.
         To be sure you understand, JOHN DOE. I am not
  threatening, nor blackmailing you in any shape or form.
        You have repeatedly offered me money and used the
  word "remuneration". And I have refused. I want NOTHING
  from you.
         You have targeted me for years while I was married,
  and more so, when my husband was ill. You then went after
  me in a big way immediately after his death, asking for the
  assistance of rabbis and organizational leaders to convince me
  to date and marry you. You donated money to their causes as
  well as mine. I tried to push you away, but you persisted.
         Your claims about unending love for me while I was in
  deep grief for my husband, and your incessant calls, texts, and
  emails were overwhelming. So, in my vulnerable state I made
  the poor judgment of relenting. I should have known better,
  and listened to what other women have claimed about you for
  years.
        And on that Sat. night in Dec. you drugged me too, as
  you have done to others. When you realized that I was making
  too much of a big deal you kept begging me saying you love
  me and want to marry me. Feeling that I stepped into borders I
  shouldn't have, and believing your claims of love - in my
                                     -26-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 27 of 52 PageID: 27




  emotional state as it was at the time - I continued my
  relationship with you.
         The relationship became more volatile when you hit me.
  You apologized each time. Although I am an educated woman
  and founded an organization for victims of abuse, I should
  have known better. Yet, I took you back each time. As is
  common in such cases, the perpetrator eventually gets bored
  and leaves. But, you weren't content. You were afraid of what
  I know, my strong connections, and how that will impact your
  life. So, you made sure to still remain in my life.
        Everyone warned me to break up with you. You took
  major advantage of me, as you have done with other women,
  including widows before me.
        Your abuse of women needs to stop.
        My only issue with you at this point is the halachic
  [Religious Jewish Law] matter that you refuse to address and
  that will have a huge permanent impact in my life (as well as
  yours).
        I urge you to settle this matter, so that I can move on
  with my life. As I said, we need to meet with a neutral rabbi
  and clear the matter ASAP.
         You can threaten me with a lawsuit, all you like. Once
  this story goes public, there will be many people with their
  own stories of your life-long abuse on them. And your $7,000
  payment to Reputation Savers will have gone down the drain.
  The only advantage will be that it will, at the very least,
  prevent more victims for you to abuse.
        However, I'm not looking to do that to you. I'm also not
  seeking revenge. Nor, do I want a man with such a dirty
  record in my family, or in my life.
       Please settle the halachic matter, so that I can move on
  and put this horrific nightmare behind me. That's all I want
  from you, and as a religious woman I have every right to
  demand it.
        It is my hope that you will settle this matter quietly,
                                     -27-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 28 of 52 PageID: 28




  swiftly, and most importantly peacefully.
  Sincerely, Ms. Sebrow”
74.   In addition to personal text messages, and unreasonable and

  excessive phone calls, emails were sent by Ms. Sebrow to

  JOHN DOE, but sent to JOHN DOE’s work email address at

  his employer, Work, a major financial institution.


75. Work has an internal policy of potentially scrutinizing all

  incoming (and outgoing) emails of any nature.


76.   Upon information and belief, Ms. Sebrow knew full well

  that JOHN DOE’s employer had access to his e-mails, and she

  sent the e-mail to that specific address with the purpose that

  they would, in fact, read it.


77.   Upon information and belief, as a matter of business

  practice, Work tracks the various email accounts of their

  employees.


78.   The e-mail sent to JOHN DOE at his Work email address,

  accused JOHN DOE of “sexual abuse[,]” claimed that he

  “drug[s]” and rape[s]” women, made an accusation that JOHN

  DOE molested his daughter when she was a teenager, stated

  that he broke confidentiality rules by disseminating private
                                      -28-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 29 of 52 PageID: 29




  client information, claimed that his son-in-law has anger

  management issues as does JOHN DOE, stated that JOHN

  DOE “drugged” her (Ms. Sebrow) “on that Sat. night in Dec.”

  and frequently hit her.


79.   Ms. Sebrow further claimed in such e-mail that JOHN DOE

  “took major advantage of [her] as [he has] done with other

  women, including widows” and generally abuses women.


80.   The e-mail further states that in order for the harassment to

  stop, “we need to meet with a neutral rabbi” so JOHN DOE

  would sign a “get,” i.e., a Jewish Divorce Document.


81.   The demand for a Get was extortion by Ms. Sebrow.


82.    Finally, the e-mail directly addressed Ms. Sebrow’s

  intention to disseminate her lies about JOHN DOE on the

  internet as she stated “[o]nce this story goes public, there will

  be many people with their own stories…” “and your $7,000

  payment to Reputation Savers will have gone down the drain.”


83.   Ms. Sebrow’s decision to include false assertions about

  JOHN DOE’s business practices in an e-mail that she sent to

  JOHN DOE’s monitored work e-mail address – including that

                                       -29-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 30 of 52 PageID: 30




  he planned to leave his employer and steal clients, that he

  disclosed confidential client information to he, and that he

  induced his employer to hire his son-in-law who was violent

  abusive – was no coincidence.


84.   After Work became aware of these communications, JOHN

  DOE was compelled to meet with a compliance team at Work

  to discuss the nature of these emails that were sent from Ms.

  Sebrow.


85.   In addition to emails and text messages, Ms. Sebrow at

  various times would incessantly call JOHN DOE an

  inappropriate amount of times.


86.   Ms. Sebrow called JOHN DOE on or about October 5,

  2018, while he was in Israel, and she called him

  approximately 131 times in a row.


87.   Ms. Sebrow called JOHN DOE on or about October 10,

  2018, approximately 20 times.


88.   In or about October 2018, Ms. Sebrow organized a scheme

  and plan complained of here (Sebrow Internet Plan) to damage

  harass and defame Plaintiff on the Internet.

                                      -30-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 31 of 52 PageID: 31




89.   Ms. Sebrow manipulated other persons to effectuate her

  plan.


90.   When engaged in the Sebrow Internet Plan, Ms. Sebrow has

  attempted to mask her identity and responsibility for the

  Sebrow Internet Plan in multiple respects, including through

  the use of two individuals, who she, engaged and encouraged

  to create defamatory and harassing social media sites such as

  Twitter and at least one website concerning Plaintiff designed

  to appear on Google under JOHN DOE’s name.


91.   The two individuals Ms. Sebrow engaged for her Sebrow

  Internet Plan are NK a resident of Manhattan, New York, and

  MK, a resident of Langhorne, State of Pennsylvania.


92.   NK and MK became co-conspirators of Ms. Sebrow in her

  Sebrow Internet Plan to damage JOHN DOE.


93.   At all times relevant herein, NK and MK acted on behalf of

  Ms. Sebrow in furtherance of the Sebrow Internet Plan.


94.   Ms. Sebrow and NK exchanged numerous text messages,

  emails and phone calls wherein Ms. Sebrow instructed NK to

  engage in the Sebrow Internet Plan and to engage MK to

                                     -31-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 32 of 52 PageID: 32




  participate with Ms. Sebrow and NK in the Sebrow Internet

  Plan


95.   In or about July 2019 three websites were created

  concerning Plaintiff JOHN DOE in furtherance of the Sebrow

  Internet Plan.


96.   The first was a Twitter account entitled “JOHN DOE and

  the Issues of Date Rape” and located at the Twitter handle

  @JOHN DOEDateRape and url https://twitter.com/JOHN

  DOEDateRape (the “Twitter Account”).


97.   The second account website was also created in July 2020

  and    located     at   the         url     www.instagram.com/JOHN

  DOE_daterape       with       the         account   handle   “@JOHN

  DOE_daterape” (the “Instagram Account”).


98.   Both the Twitter Account and Instagram Account directed

  the readers to the third website, www.realJOHN DOE.com

  (the “Website”).


99.   The Twitter Account falsely stated: “JOHN DOE, of, NJ is

  accused by police of incapacitating 100s of victims by plying

  them with date rape drugs.”

                                               -32-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 33 of 52 PageID: 33




100. The Twitter Account contained 11 “Tweets,” 10 of which

  directed the viewer to the Website.


101. Notably, the false statement includes JOHN DOE’s name,

  age, job description, and city and state, leaving no question

  that the man described by the account is, in fact, Plaintiff

  JOHN DOE.


102. The account also provides that JOHN DOE had been

  “accused by police of incapacitating 100s of victims by plying

  them with date rape drugs.” This allegation is unequivocally

  false.


103. The false and defamatory Twitter account has plagued a

  Google Search of JOHN DOE’s name, sometimes appearing

  as the first result, and still remains on the first page when

  searching his name and location.


104. The Website was registered to Wild West Domains and

  was issued a subpoena for account information.


105. Wild West Domains has identified to JOHN DOE’s

  investigators several individuals responsible for creating the

  website.

                                        -33-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 34 of 52 PageID: 34




106. The first person listed was Mr. S, NY, with a work phone

  listed as (xxx) xx-6530.        The e-mail provided for Mr.

  Solomon was xx@xxdefender.com; the response indicates that

  the individual had been “Verified by Fraud Dept – Customer

  OK[.]”


107. The second person listed was MK, who is identified as the

  Registrant    Contact,   Technical     Contact,   Administrative

  Contact, and Billing Contact.


108. On July 14, 2021 a Visa card ending in 2452 in MK’s

  wife’s name paid $24.16 for domain name renewal and

  privacy and protection and on July 13, 2021 an American

  Express ending in 1090 also in MK’s wife’s name paid the

  same amount for the registration and one year of privacy and

  protection.


109. MK, is also named in the document provided by Wild West

  Domains by way of his e-mail address – xx@xxdefender.com,

  which is listed under Shopper Info, Shipping Information, and

  Billing Information for the domain.


110. At all relevant times, Ms. Sebrow knew of, encouraged and


                                        -34-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 35 of 52 PageID: 35




  fomented the Sebrow Internet Plan and was aware of the

  repercussions of posting falsities online.


111. Ms. Sebrow nevertheless engaged NK and MK to

  implement the Sebrow Internet Plan in an effort to hide her

  true identity while she posted and/or caused to be posted false

  and defamatory statements concerning JOHN DOE with

  impunity.


112. NK and MK, working in concert and for Ms. Sebrow,

  created the three websites at the exact same time and posted

  on a continuing basis in an effort to ensure their postings

  would be highly ranked in Google search results.


113. To facilitate the Sebrow Internet Plan, Ms. Sebrow

  encouraged NK and MK, to use a method which is called

  “search engine optimization” or “SEO” to have the benefit of

  publishing the false statements across multiple platforms using

  specific keywords to promote her lies.


114. Ms. Sebrow implemented, encouraged and fomented NK

  and MK to create the Sebrow Internet Plan with the

  knowledge of the falsity of the statements in the Sebrow


                                       -35-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 36 of 52 PageID: 36




   Internet Plan and the implications therefrom, with the reckless

   disregard for the truth, and/or with malicious intent, both

   presumed and actual, in knowingly publishing, posting, and

   widely disseminating such false statements to third parties.


115. JOHN DOE did not learn of the Sebrow Internet Plan until

   July 2021.


116. The social media accounts and website created at the behest

   of Ms. Sebrow via the Sebrow Internet Plan have appeared

   highly in JOHN DOE’s Google Search results, often above his

   own work and personal accounts and as a result, Ms. Sebrow’s

   false claims that JOHN DOE was under investigation for

   raping hundreds of women was visible to third parties before

   JOHN DOE’s own professional accomplishments.


117. Ms. Sebrow’s sole purpose of implementing the Sebrow

   Internet Plan to create the false website and accounts was to

   harass and/or embarrass JOHN DOE and publish for the

   whole world to see falsities about JOHN DOE.


118. Ms. Sebrow has undertaken implementing the Sebrow

   Internet Plan that was for the sole purpose of harming JOHN


                                       -36-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 37 of 52 PageID: 37




  DOE, a task which she has accomplished.


119. Ms. Sebrow’s statements in the Sebrow Internet Plan have

  caused immense friction with JOHN DOE and members of his

  family, including his children, who have found the false

  statements being made about their father and, upon

  information and belief, confronted him about it.


120. Ms. Sebrow’s statements in the Sebrow Internet Plan have

  also affected JOHN DOE’s work life and, upon information

  and belief, have caused JOHN DOE to lose at least one client.


121. Ms. Sebrow’s statements in the Sebrow Internet Plan have

  affected JOHN DOE’s romantic life as they led to the end of a

  long-term relationship between JOHN DOE and another

  woman.


122. These known impacts of the Sebrow Internet Plan, as well

  as knowing these false and defamatory statements were online

  and being disseminated to the world at large have caused

  JOHN DOE to experience immense and severe emotional

  distress.


123. JOHN DOE has spent numerous sleepless nights tortured

                                     -37-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 38 of 52 PageID: 38




   by feelings of humiliation and embarrassment that third

   parties who Ms. Sebrow knows and perhaps some whom he

   does not yet know have read Defendants’ statements and

   believe them to be true.


124. The numerous emails and text communications from Ms.

   Sebrow to JOHN DOE which include Whats App and

   standard text messages, as well as Facebook messages, in

   addition to engendering civil liability, are harassment which

   violate N.J. Stat. § 2C:33-4 and § 2C:33-4 1343, 18 USCS §

   1343 and violates New York Penal Law § 240.21 - 240.32,

   which give rise to a civil cause of action by JOHN DOE

   against Ms. Sebrow.

                  SECOND CAUSE OF ACTION
125. Plaintiff repeats and realleges the allegations stated above

   as if fully set forth herein.


126. Ms. Sebrow caused to be posted, disseminated, or caused to

   have disseminated on the internet in furtherance of the Sebrow

   Internet Plan knowing that such publication about JOHN DOE

   is false and defamatory, not the subject of any privilege, and is

   viewable by many third parties.

                                       -38-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 39 of 52 PageID: 39




127. Ms. Sebrow had actual knowledge that the information they

   published, or caused to be published, by means of the Sebrow

   Internet Plan about Plaintiff was false and knew or should

   have known that the information published about Plaintiff was

   false and defamatory.


128. Ms. Sebrow acted with knowledge of the falsity of these

   statements and the implications therefrom, reckless disregard

   for the truth, and/or with malicious intent, both presumed and

   actual,    in    knowingly    implementing,     encouraging   and

   fomenting the Sebrow Internet Plan using NK and Mk for the

   purpose,        thereby   publishing,     posting,   and   widely

   disseminating such false statements to third parties.


129. These statements defame and otherwise impugn Plaintiff’s

   character, integrity and reputation.


130. The statements go on to charge Plaintiff with serious crimes

   and ethical violations, and Defendants disparage the Plaintiff

   in his profession, trade and/or business.        Such actions are

   libelous per se.


131. The statements are libelous per se, so that general damages


                                           -39-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 40 of 52 PageID: 40




   may be presumed as a matter of law.


132. The published false comments were made with the intent to

   harm Plaintiff and with actual malice.


133. The Defendants’ unlawful conduct has caused and will

   continue to cause Plaintiff imminent, irreparable injuries for

   which there are no adequate legal remedies. Accordingly,

   Plaintiff is entitled to permanent injunctive relief.


134. Because Defendants have placed Plaintiff’s personal

   character and reputation publicly at issue, Plaintiff is entitled

   to a declaratory judgment that Defendants’ statements are

   false.


135. As a consequence of the Defendants’ conduct, Plaintiff’s

   reputation has been injured, and the Plaintiff has suffered

   economic loss.


136. That by reason of the foregoing, Plaintiff has been damaged

   in a sum of money having a present value which exceeds the

   jurisdictional limits of all lower courts which would have

   otherwise have jurisdiction of this matter, but not less than

   $10,000,000.00.

                                         -40-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 41 of 52 PageID: 41




                  THIRD CAUSE OF ACTION
137. Plaintiff repeats and realleges the allegations stated above

   as if fully set forth herein.


138. Ms. Sebrow engaged in the intentional, extreme and

   outrageous conduct of cyber harassing via the Sebrow Internet

   Plan in an effort to destroy JOHN DOE’s good name.


139. Ms. Sebrow engaged in and undertook all actions knowing

   the statements they were making about JOHN DOE were false

   and knowing that Plaintiff was not the one publishing the

   statements about date rape in his own name.


140. Ms. Sebrow’ conduct has been so extreme in degree and so

   outrageous in character that it goes beyond all possible bounds

   of decency.


141. Ms. Sebrow intended to cause severe, emotional distress or

   recklessly disregarded the likelihood that such conduct would

   tend to cause severe emotional distress.


142. Such outrageous behavior is beyond the limits of decency

   and intolerable in a civilized society.


143. As a direct and proximate result of Ms. Sebrow’s conduct,
                                        -41-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 42 of 52 PageID: 42




  JOHN DOE suffered severe emotional distress.


144. Ms. Sebrow acted with the intent to cause severe emotional

  distress,   or   alternatively,   disregarded   the   substantial

  probability that their actions would cause severe emotional

  distress.


145. Here, the acts of Ms. Sebrow were so egregious and were

  done so clearly with malice and/or reckless indifference in the

  face of a perceived risk that their actions would harm JOHN

  DOE’s reputation and mental wellbeing, that, in addition to all

  the damages inflicted upon JOHN DOE and in addition to all

  the measure of relief to which JOHN DOE may properly be

  entitled herein, Ms. Sebrow should also be required to pay

  punitive damages to punish them for their reckless conduct in

  the further amount greater than the jurisdictional limit of all

  lower courts to be determined by the trier of fact, in order to

  deter them and others similarly situated from engaging in such

  conduct in the future.


146. JOHN DOE demands judgment against Ms. Sebrow in an

  amount to be determined upon the trial of this action; said

  amount being sufficient to compensate JOHN DOE for his
                                       -42-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 43 of 52 PageID: 43




   severe injuries as well as an amount sufficient to punish Ms.

   Sebrow for her willful, wanton, reckless and unlawful conduct

   constituting a complete and reckless disregard for JOHN

   DOE, together with interest, attorneys’ fees, costs and

   disbursements in this action; and said amount exceeding the

   jurisdictional limits of all lower courts which would otherwise

   have jurisdiction, but not less than $10,000,000.00.

                  FOURTH CAUSE OF ACTION
147. Plaintiff repeats and realleges the allegations stated above

   as if fully set forth herein.


148. On or about August 12, 2021, in a Certification signed by

   Ms. Sebrow (Called herein the “Sebrow Certification”) in

   connection with an ongoing New Jersey Domestic Violence

   claim pending in the New Jersey Superior Court, Chancery

   Division, Family Part, Essex County, Docket # FV-07-487-22.

   Ms. Sebrow certified as follows:


149. “I have seen the internet postings which are the subject of

   JOHN DOE’s TRO Complaint, and I have absolutely no

   knowledge whatsoever as to who might be responsible for

   posting them.”

                                       -43-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 44 of 52 PageID: 44




150. “For whatever reason, JOHN DOE seems either to be

   convinced that I am responsible for the postings, or he is

   trying to use me as a scapegoat so he can have someone to

   blame.”


151. “However, I am hereby unequivocally asserting in this

   Certification, under penalty of perjury, that I have nothing to

   do with those internet posts, nor do I have any idea who might

   be responsible for them.”


152. The foregoing statements in the Sebrow Certification are

   false, and each statement is an act of perjury.


153. The Sebrow Certification was filed in the Superior Court of

   New Jersey electronically, over the wire system in New

   Jersey, New York, and the United States.


154. This electronic filing violates N.J. Stat. § 2C:28-1 and N.J.

   Stat. § 2C:28-2.


155. The Sebrow Certification was knowingly false when made

   and when submitted to the New Jersey Superior Court.




                   FIFTH CAUSE OF ACTION
                                        -44-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 45 of 52 PageID: 45




156. Plaintiff repeats and realleges the allegations stated above

   as if fully set forth herein.


157. Ms. Sebrow is guilty of tortious interference because she

   has interfered with JOHN DOE’s business relationship with

   Work.


158. As alleged above, JOHN DOE asserts a claim for

   interference with his contractual relationship with Work

   because:


              (a)   JOHN DOE has a valid agreement between at

                    least two parties;


              (b)   Ms. Sebrow had knowledge of the agreement;


              (c)   The    interference   alleged    herein     caused

                    employment stress and loss of reputation;


              (d)   Ms. Sebrow’s interference was intentional; and


              (e)   Ms. Sebrow’s, interference caused JOHN DOE to

                    suffer damages.


159. Upon information and belief, Ms. Sebrow had unequivocal

   knowledge that JOHN DOE is a prominent financial advisor,

                                          -45-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 46 of 52 PageID: 46




  that his reputation has a long-lasting effect with regard to his

  professional success, and that if they were to damage his

  reputation, that could cause JOHN DOE irreparable damages

  to his professional career and personal life.


160. More particularly, JOHN DOE has a valid business

  agreement with Work, in which he produces a certain amount

  of gross production for Work on an annual basis, through his

  investing and financial planning with his numerous clients.


161. In order to maintain his standing at Work, JOHN DOE must

  retain all of his current clients, and given that this may not

  always be possible, then through bringing new clientele into

  his business at Work.


162. In order for JOHN DOE to continue to retain his current

  client base, and bring in new clientele, his clients and

  prospective clients must trust him to let him manage their

  financial assets.


163. Upon information and belief, by intentionally and/or

  grossly negligently sending the emails to JOHN DOE at

  JOHN DOE’s Work email account and publishing real JOHN


                                       -46-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 47 of 52 PageID: 47




   DOE.com, Ms. Sebrow knew that they were potentially

   irreparably harming JOHN DOE with regard to his business

   relationships not just with clients, but also with his employer,

   Work.


164. Ms. Sebrow has engaged in tortious interference against

   JOHN DOE.


165. That, by reason of the foregoing, JOHN DOE has been

   damaged in a sum of money having a present value which

   exceeds the jurisdictional limits of all lower courts which

   would otherwise have jurisdiction of this matter, but not less

   than $10,000,000.00.

                    SIXTH CAUSE OF ACTION
166. Plaintiff repeats and realleges the allegations stated above

   as if fully set forth herein.


167. JOHN DOE relies on his good reputation online to obtain

   new business and clients.


168. Ms. Sebrow knew of the importance of JOHN DOE’s

   reputation online and that creating a sustained campaign to

   place false information online would prevent Plaintiff from

   obtaining new clients.
                                       -47-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 48 of 52 PageID: 48




169. Using this knowledge, Ms. Sebrow created a web of lies

   and websites to interfere with JOHN DOE’s ability to be

   retained by new clients.


170. As a result of Ms. Sebrow’s actions, JOHN DOE has been

   damaged.


171. That, by reason of the foregoing, JOHN DOE has been

   damaged in a sum of money having a present value which

   exceeds the jurisdictional limits of all lower courts which

   would otherwise have jurisdiction of this matter, but not less

   than $10,000,000.00.

                  SEVENTH CAUSE OF ACTION
172. Plaintiff repeats and realleges the allegations stated above

   as if fully set forth herein.


173. Because Ms. Sebrow’s conduct is malicious and oppressive,

   JOHN DOE is entitled to be awarded punitive damages to

   punish the Defendant for her wrongful conduct.


174. That by reason of the foregoing, JOHN DOE has sustained

   damages, both general and special.

                   EIGHTH CAUSE OF ACTION
175. Plaintiff repeats and realleges the allegations stated above
                                        -48-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 49 of 52 PageID: 49




  as if fully set forth herein.


176. JOHN DOE in this Complaint asserts a valid claim for

  defamation because Ms. Sebrow has made:


              (a)   A false statement;


              (b)   Published to a third party without privilege of

                    authorization;


              (c)   With fault amounting to at least negligence; and


              (d)   That caused special harm or “defamation per se”.


        WHEREFORE, JOHN DOE respectfully requests for

  relief against Ms. Sebrow as follows:

        (a)   injunctive relief against Ms. Sebrow in the form of a

  restraining order from this court against her:

              i.    preliminarily and permanently restraining Ms. Sebrow

                    from:

                       (a)   Maintaining the Sebrow Internet Plan the

                             Sebrow Internet Plan;

                       (b) sending    emails, text messages, Whats App

                             messages, or any communication via electronic,

                                             -49-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 50 of 52 PageID: 50




                          fax, telephone or any other means, to JOHN

                          DOE, his children, his employer, or colleagues

                          at Work;

              ii.   preliminarily and permanently restraining Ms. Sebrow

                    from any postings or media dissemination to any form

                    of social media, or print media, or electronic or air

                    media, including but not limited to Facebook,

                    Instagram, google apps, The Jewish Press, or Ms.

                    Sebrow’s blog(s);

        (b) Damages       for acts of harassment, defamation, and tortious

        (c) interference    committed by Ms. Sebrow;

        (d) compensatory         damages     for   acts   of   harassment,

  defamation, and tortious interference committed by Ms. Sebrow,

  in an amount to be determined at trial, in the amount of

  $10,000,000;

        (e) compensatory       damage in an appropriate amount, for

  injury resulting from loss of current and prospective income,

  emotional distress, and loss of reputation from Ms. Sebrow;

        (f)   punitive damages in an appropriate amount, for the

  intentional, reckless, and negligent nature of Ms. Sebrow’s conduct,

  to deter her from further such conduct;
                                           -50-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 51 of 52 PageID: 51




        (g) interest,   costs, and reasonable attorneys’ fees incurred by

  JOHN DOE in commencement of this action from Ms. Sebrow;

        (h) any   other such further relief as the court deems just and proper




                                         -51-
Case 2:21-cv-20706 Document 1 Filed 12/23/21 Page 52 of 52 PageID: 52




Dated: December 23, 2021

                      Respectfully Submitted,




                                By:
                                  ABRAHAM BORENSTEIN

                                Borenstein, McConnell & Calpin, P.C.
                                Attorneys for Plaintiff
                                155 Morris Avenue, Suite 201
                                Springfield, NJ 07081
                                973-379-2444
                                avib@bmclawyers.net


                                     /s/ Daniel Szalkiewicz
                                By:
                                DANIEL SZALKIEWICZ
                                Daniel Szalkiewicz & Associates, P.C.
                                Attorneys for Plaintiff
                                23 West 73rd Street, Suite 102
                                New York, New York 10023
                                212-760-1007
                                daniel@lawdss.com




                                   -52-
